
85 So. 3d 1185 (2012)
Lauren G. GRESS, Appellant,
v.
STATE of Florida, Appellee.
No. 5D10-3884.
District Court of Appeal of Florida, Fifth District.
April 20, 2012.
James S. Purdy, Public Defender, and Allison A. Havens, Assistant Public Defender, Daytona Beach, for Appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, and Douglas T. Squire, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
Appellant challenges the judgments and sentences she received for the offenses of culpable negligence and two counts of neglect of a child causing great bodily harm, permanent disfigurement, or permanent disability. The State properly concedes that the conviction for culpable negligence is a double jeopardy violation because it arose from the same criminal episode, involving the same victim, and was a lesser offense subsumed by a greater offense. Accordingly, we reverse the judgment and sentence for culpable negligence. In all other respects, we affirm.
REVERSED IN PART; AFFIRMED IN PART.
GRIFFIN, SAWAYA and TORPY, JJ., concur.
